         Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



  Jane Doe 1, individually and on behalf of
  all others similarly situated,
                                                                    Case No. 1:22-CV-10018 (JSR)
     Plaintiff,

            v.

  Deutsche Bank Akteingesellschaft, et. al.,

     Defendants.



        DECLARATION OF DAVID BOIES IN SUPPORT OF PLAINTIFF JANE
               DOE 1’S MOTION FOR CLASS CERTIFICATION
I, David Boies, declare as follows:

       1.         I am a member in good standing of the bar of the State of New York and am

admitted to practice before this Court. I am the Chairman and a Managing Partner of Boies Schiller

Flexner (“BSF”). I make this declaration on my own personal knowledge, and if called as a witness

to testify, I could and would testify competently to the following facts.

       2.         I submit this declaration in support of the motion filed by Jane Doe 1 for class

certification and approval of BSF as Class Counsel. My firm and I represent Class Representative,

Jane Doe 1, in the above-captioned action, and we respectfully request the Court approve our firm

as Class Counsel in this action.

       A. Relevant Firm Expertise

       3.         BSF has a strong record of successfully and diligently representing plaintiffs in

complex class action litigation. Recent cases in which BSF or its partners were lead or co-lead

counsel include: In re Grupo Televisa Securities Litigation (1:18-cv-01979) (S.D.N.Y.), in which
           Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 2 of 10




the court granted preliminary approval of a settlement last month; In re Blue Cross Blue Shield

Antitrust Litigation (2:13-cv-20000) (N.D. Ala.), an antitrust class action in which the Firm

achieved both what the court referred to as “historic” injunctive relief and a $2.7 billion award in

a settlement that received final approval last October; In re Takata Airbag Products Liability

Litigation (1:15-md-02599) (S.D. Fla.), in which the Firm obtained a recovery of more than $1.5

billion in a products liability class action, which is still proceeding against certain defendants but

in which there has already been a recovery of more than 1.5 billion dollars; In re Halliburton

Securities Litigation (13-317), in which the firm won two appeals to the United States Supreme

Court before achieving a $100 million recovery.

       4.      Other notable cases in which the Firm or its partners were lead counsel include In

re Auction House Antitrust Litigation (1:00-cv-00648) (S.D.N.Y.), in which the firm won $512

million in an antitrust class action after prior interim lead counsel valued the case at less than $100

million.

       5.      BSF has the resources and expertise to devote to this action, which requires dealing

with what I know to be very capable, aggressive, and well-financed lawyers representing the

Defendants.

       6.      BSF has already expended, and will continue to expend, substantial time and

resources in actively and diligently litigating this action. I, along with my fellow partners Sigrid

McCawley and Andrew Villacastin and the rest of our litigation team, have already devoted more

than 3,300 hours and substantial resources in developing Doe’s case and undertaking substantial

fact discovery. The expenses that BSF has already incurred include the retention of expert

witnesses, consultants, and an e-discovery vendor. BSF also took a lead role in drafting Doe’s

opposition to Defendants’ motion to dismiss and arguing it before the Court, resulting in the Court



                                                  2
         Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 3 of 10




denying Defendants’ motion and allowing the matter to proceed through discovery. BSF has also

conducted eight depositions to date, and is currently reviewing the over 170,000 documents

produced by Defendants in order to further develop the class members’ claims.

       B. Team Members

       7.      The BSF team includes myself, Sigrid McCawley, Andrew Villacastin, and twenty

other lawyers as well as a full support staff led by experienced paralegals.

       8.      David Boies: I personally served as co-lead counsel in cases such as In re Grupo

Televisa Securities Litigation (1:18-cv-01979) (S.D.N.Y.), In re Halliburton, In re Blue Cross Blue

Shield Antitrust Litigation (2:13-cv-20000) (N.D. Ala.), In re Takata Airbag Products Liability

Litigation (1:15-md-02599) (S.D. Fla.), In re Vitamins Antitrust Litigation (Nos. 99-7256, 99-

7281) (D.D.C.).

       9.      I, along with Ms. McCawley, have represented survivors of Jeffrey Epstein’s sex

trafficking enterprise since June 2014. We brought our first case on behalf of survivors against

Ghislaine Maxwell in 2015 and our first case against Jeffrey Epstein on behalf of survivors in

2016. We have also represented survivors in civil litigation against Epstein’s Estate after his death,

see Farmer v. Indyke, et al. (No. 1:19-cv-10474); Farmer v. Indyke, et al. (No. 1:19-cv-10475);

Helm v. Indyke, et al. (No. 1:19-cv-10476); Bryant v. Indyke, et al. (No. 1:19-cv-10479); Doe

1000 v. Indyke, et al. (No. 1:19-cv-10577), and numerous survivors who made applications to the

Epstein Victim’s Compensation Fund. We have also been representing an Epstein survivor in her

civil lawsuit against Prince Andrew, Giuffre v. Andrew (21-cv-6702) (S.D.N.Y.).

       10.     Sigrid McCawley:        Sigrid McCawley is a Managing Partner of BSF.             Ms.

McCawley’s experience and talents have been nationally recognized, having been named Litigator

of the Year by The American Lawyer, Top Ten Female Litigator in 2020–2022 by Benchmark

                                                  3
         Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 4 of 10




Litigation, a finalist for Lawyer of the Year by the American Lawyer in 2022 and a finalist for

Attorney of the Year in Florida by Daily Business Review, and numerous other awards. Ms.

McCawley has handled some of BSF’s most challenging disputes, including securing a $100

million victory in the landmark case before the U.S. Supreme Court in In re Halliburton Securities

Litigation (No. 13-317).

       11.     Ms. McCawley’s experience in the representation of survivors of sexual abuse is

also well-documented. As noted above, Ms. McCawley has devoted years of her career to

advocating on behalf of survivors of Jeffrey Epstein, including in cases against Prince Andrew,

Ghislaine Maxwell, and the Epstein Estate. Ms. McCawley was recognized by Forbes Magazine

for her “iron clad interrogation skills” during the deposition of Ghislaine Maxwell. Her work

contributed to the arrest of Jeffrey Epstein, Ghislaine Maxwell, and Jean Luc Brunel, and resulted

in a successful resolution of claims for numerous Epstein survivors. Ms. McCawley’s work for

survivors of Jeffrey Epstein has appeared on Netflix, Lifetime, 60 Minutes, ABC, NBC, CBS,

CNN, and Fox, and Ms. McCawley has been further featured in The New York Times and The

Wall Street Journal.

       12.     Andrew Villacastin: Andrew Villacastin is a partner at BSF. In 2022, Mr.

Villacastin was recognized in the 2023 edition of Best Lawyers in America as Ones to Watch for

his work in commercial litigation. Mr. Villacastin also has significant experience litigating class

actions—he is currently defending a life insurance company in multiple class action lawsuits and

has represented a major bank in multidistrict LIBOR-related actions involving antitrust, securities,

RICO, Commodities Exchange Act, and state law claims. As mentioned above, Mr. Villacastin

has been a zealous advocate for survivors of Jeffrey Epstein for four years and has worked on

many of the aforementioned Epstein-related cases alongside Ms. McCawley.



                                                 4
         Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 5 of 10




       13.      I assure the Court that we have carefully read and understood the Court’s Orders

regarding the case and the role of Class Counsel.

       C. Exhibits in Support of Motion for Class Certification

       14.      Attached are true and correct copies of the following documents:

             a. Exhibit A: Declaration of Bradley J. Edwards, dated April 28, 2023

             b. Exhibit B: Declaration of Paul G. Cassell, dated April 28, 2023

             c. Exhibit C: Amended Expert Report of Jane Khodarkovsky, dated March 6, 2023,

                and filed under seal pursuant to the Protective Order in this matter

             d. Exhibit D: Palm Beach Police Department Incident Report dated February 17,

                2006

             e. Exhibit E: Complaint filed in Doe v. Indyke, et al., 21-cv-08469 (S.D.N.Y.), ECF

                No. 1

             f. Exhibit F: Excerpts of a deposition dated June 20, 2016, in Giuffre v. Maxwell, 15-

                CV-07433 (S.D.N.Y.), unsealed by the Second Circuit on August 9, 2019, No. 18-

                2868, ECF No. 283

             g. Exhibit G: Excerpts of the deposition of Johanna Sjoberg dated May 18, 2016, in

                Giuffre v. Maxwell, 15-CV-07433 (S.D.N.Y.), unsealed by the Second Circuit on

                August 9, 2019, No. 18-2868, ECF No. 283

             h. Exhibit H: Article by Emily Shugerman dated October 6, 2019, entitled “Epstein

                Flaunted Girls After His Arrest at Hair Salon for the Stars”

             i. Exhibit I: Notes of an FBI interview of Virginia Giuffre dated July 5, 2013,

                unsealed by the Second Circuit on August 9, 2019, No. 18-2868, ECF No. 283

             j. Exhibit J: Palm Beach Police Department victim interview dated October 11, 2005

                                                  5
Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 6 of 10




 k. Exhibit K: Amended Complaint filed in Doe 43 v. Epstein, et al., 17-cv-00616

    (S.D.N.Y.), ECF No. 45

 l. Exhibit L: Complaint filed in Katlyn Doe v. Indyke, et al., 19-7771 (S.D.N.Y.),

    ECF No. 1

 m. Exhibit M: Excerpts of the deposition of Rinaldo Rizzo dated June 10, 2016, in

    Giuffre v. Maxwell, 15-CV-07433 (S.D.N.Y.), unsealed by the Second Circuit on

    August 9, 2019, No. 18-2868, ECF No. 283

 n. Exhibit N: Excerpts of the deposition of Alfredo Rodriguez dated July 29, 2009, in

    Doe No. 2 v. Epstein, No. 08-cv-80119 (S.D. Fla.), unsealed by the Second Circuit

    on August 9, 2019, No. 18-2868, ECF No. 283

 o. Exhibit O: Complaint filed in Farmer v. Indyke, et al., 19-cv-10475 (S.D.N.Y.),

    ECF No. 1

 p. Exhibit P: Article by Jane Musgrave dated January 23, 2010, entitled “Victims

    seeking sex offender’s millions see painful pasts used against them”

 q. Exhibit Q: Complaint filed in Doe 1000 v. Indyke, et al., 19-cv-10577 (S.D.N.Y.),

    ECF No. 1

 r. Exhibit R: Article by James Beal dated November 23, 2019, entitled “New Epstein

    victim says he raped her and bragged about Prince Andrew as first pics of his

    ‘Paedo Island’ emerge”

 s. Exhibit S: Complaint filed in Bryant v. Indyke, et al., 19-10479 (S.D.N.Y.), ECF

    No. 1

 t. Exhibit T: Complaint filed in Helm v. Indyke, et al., 19-cv-10476 (S.D.N.Y.), ECF

    No. 1



                                     6
Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 7 of 10




 u. Exhibit U: Jeffrey Epstein’s 2007 Non-Prosecution Agreement

 v. Exhibit V: Indictment in United States v. Epstein, No. 19-cr-490 (S.D.N.Y.)

 w. Exhibit W: Consent Order dated July 20, 2020, entered into between Deutsche

    Bank and the New York State Department of Financial Service

 x. Exhibit X: Document produced by Deutsche Bank, bates stamped DB_00065367,

    designated confidential by Deutsche Bank pursuant to the Protective Order in this

    matter and filed under seal

 y. Exhibit Y: Excerpts of the deposition of Amanda Kirby dated April 14, 2023,

    designated confidential by Deutsche Bank pursuant to the Protective Order in this

    matter and filed under seal

 z. Exhibit Z: Document produced by Deutsche Bank, bates stamped DB_00023504,

    designated confidential by Deutsche Bank pursuant to the Protective Order in this

    matter and filed under seal

 aa. Exhibit AA: Document produced by Deutsche Bank, bates stamped

    DB_00134099, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal

 bb. Exhibit AB: Document produced by Deutsche Bank, bates stamped

    DB_00049876, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal

 cc. Exhibit AC: Document produced by Deutsche Bank, bates stamped

    DB_00048099, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal




                                     7
Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 8 of 10




 dd. Exhibit AD: Document produced by Deutsche Bank, bates stamped

    DB_00084946, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal

 ee. Exhibit AE: Document produced by Deutsche Bank, bates stamped

    DB_00084884, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal

 ff. Exhibit AF: Document produced by Deutsche Bank, bates stamped DB_00048091,

    designated confidential by Deutsche Bank pursuant to the Protective Order in this

    matter and filed under seal

 gg. Exhibit AG: Document produced by Deutsche Bank, bates stamped

    DB_00088100, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal

 hh. Exhibit AH: Document produced by Deutsche Bank, bates stamped

    DB_00236502, designated confidential by Deutsche Bank pursuant to the

    Protective Order in this matter and filed under seal

 ii. Exhibit AI: Document produced by Deutsche Bank, bates stamped DB_00128639,

    designated confidential by Deutsche Bank pursuant to the Protective Order in this

    matter and filed under seal

 jj. Exhibit AJ: Document produced by Deutsche Bank, bates stamped DB_00022685,

    designated confidential by Deutsche Bank pursuant to the Protective Order in this

    matter and filed under seal




                                     8
        Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 9 of 10




          kk. Exhibit AK: Document produced by Deutsche Bank, bates stamped

             DB_00083990, designated confidential by Deutsche Bank pursuant to the

             Protective Order in this matter and filed under seal

          ll. Exhibit AL: Document produced by Deutsche Bank, bates stamped

             DB_00098242, designated confidential by Deutsche Bank pursuant to the

             Protective Order in this matter and filed under seal

          mm.        Exhibit AM: Jeffrey Epstein’s 97-page book of contacts (“Black Book”)

          nn. Exhibit AN: Article by Michele Dargan dated March 11, 2011, entitled “Jeffrey

             Epstein address book 'Holy Grail’ of famous names”

          oo. Exhibit AO: Transcript from proceedings before Hon. Richard M. Berman dated

             August 27, 2019, in United States v. Epstein, No. 19-cr-490 (S.D.N.Y.)

          pp. Exhibit AP: Epstein Victims’ Compensation Program, Announcement of

             Conclusion of Claims Process, dated August 9, 2021

          qq. Exhibit AQ: U.S. Department of Justice Victim Notification Letter to Virginia

             Giuffre, dated September 3, 2008

          rr. Exhibit AR: Epstein Victims’ Compensation Program, Frequently Asked

             Questions, dated June 25, 2020

          ss. Exhibit AS: Epstein Victims’ Compensation Program, Protocol, dated May 29,

             2020

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 28, 2023                               Respectfully Submitted,

                                                    By: /s/ David Boies

                                                    David Boies

                                                9
Case 1:22-cv-10018-JSR Document 69 Filed 04/28/23 Page 10 of 10




                                   Boies Schiller Flexner LLP
                                   55 Hudson Yards
                                   New York, New York
                                   Telephone: (212) 446-2300
                                   Facsimile: (212) 446-2350
                                   Email: dboies@bsfllp.com




                              10
